                                                Internal Revenue Service
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                                                 Criminal Investigation

                                              Memorandum of Activity


InRe:                  Eddy Patterson                               Location:           Office of Steve Knorr
Investigation #:       730030040                                                        4815 South Harvard, Suite 525
Date:                  May 12, 2004                                                     Tulsa, OK 74135
Time:                  Approx. 1:10 P.M.
Participant(s):        Steve Knorr, Attorney for Eddy Patterson
                       Tim Arsenault, Special Agent IRS-CI
                       Gary Benuzzi, Special Agent IRS-CI




          On the above date and time, SA Benuzzi and I went to the office of Steve Knorr to pick up the
          following items:

               1. A box containing file folders labeled Lindsey Springer, Oscar Stilley, NESCO and Eddy
                  L. Patterson. The file folders contained loose documents, records and cancelled checks.
               2. An Adetech CPU computer, model 52Xmax.
               3. When we returned to the office the CPU was turned over to SA Benuzzi for imagining
                  and stored in a secure location.

           I certify that the above information clearly reflects the events that took place on the above date
           and time.



            /l~A~,                                                 ad r'J       fA.}.    BenuJ?(·
          Tim Arsenault                                            Gary Benuzzi
          Special Agent                                            Special Agent

           I prepared this memorandum on May 13, 2004.
                                                                    /l~A~,
                                                                   Tim Arsenault
                                                                   Special Agent




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